      Case 8:21-cv-00555-SDM-CPT Document 161-16 Filed 06/28/22 Page 1 of 10 PageID 12444
       Agency Name                                                               INCIDENT/INVESTIGATION                                            Case#
                                                                                                                                                           18-021464
                         Pasco Sheriff`s Office                                               Internal Copy                                        Date / Time Reported
  I    ORI                                                                                                                                                    05/28/2018 09:12 Mon
  N                                FL0510000                                                                                                       Last Known Secure
  C
      Location of Incident                                                     Gang Relat Premise Type                          Zone/Tract                    05/26/2018 20:00 Sat
  I                                                                                                                                                At Found
  D         13822 MALCOLM AVE, Hudson FL 34667                                   NO                Home Of                           G4                       05/28/2018 09:12 Mon
  E           Crime Incident(s)                                        ( Com )       Weapon / Tools NOT APPLICABLE                                                                Activity
  N    #1
              Theft Grand 300 Less Than 5k Dols                                      Entry                 Exit                                        Security
  T                                                                        F
              812.014.2C1
  D           Crime Incident                                           (         )   Weapon / Tools                                                                               Activity
  A    #2
  T                                                                                  Entry                             Exit                            Security
  A
              Crime Incident                                           (         )   Weapon / Tools                                                                              Activity
       #3
                                                                                     Entry                             Exit                            Security

 MO
        Method Of Entry/Unknown, Object Of Target/Sports/Exercise Equipment, Offense Type/Grand Theft, Point of Entry/Unknown, Point of
        Exit/Unknown, Tool/Weapon Used/Knife/Utility Cutter, Type of Security/None, Type of Structure/Residence
       # of Victims 1       Type: INDIVIDUAL/ NOT LAW                           Injury: None                            Domestic: N
                  Victim/Business Name (Last, First, Middle)                                     Victim of         DOB           Race Sex Relationship Resident Status    Military
  V     V1 IRVINE, DAVID LAWRENCE                                                                Crime #                                  To Offender                  Branch/Status
  I                                                                 SS#: XXX-XX-XXXX               1,            Age    68       W        M                       Resident
  C    Home Address                                                                                                                                      Home Phone
  T                                                                                                                                                                         352-634-2054
  I
                  13822 MALCOLM AVE , Hudson, FL 34667-
       Employer Name/Address                                                                                                        Business Phone                 Mobile Phone
  M
                                   HERNANDO COUNTY WELLNESS (PHYSICIAN)                                                                                                     352-634-2054
       VYR           Make           Model            Style           Color                   Lic/Lis                                VIN

       CODES: V- Victim (Denote V2, V3) O = Owner (if other than victim)                     R = Reporting Person (if other than victim)
       Type: INDIVIDUAL/ NOT LAW ENFORCEMENT                                                           Injury:
  O
  T   Code Name (Last, First, Middle)                                                            Victim of        DOB            Race Sex Relationship Resident Status    Military
  H               SMITH, WILLIAM EARL                                                            Crime #                                  To Offender                  Branch/Status
  E
       IO                                                                                                        Age    81       W        M                       Resident
  R    Home Address                                                                                                                                      Home Phone
  S      13821 MALCOLM AVE HUDSON, FL 34667                                                                                                                                 727-233-1196
       Employer Name/Address                                                                                                        Business Phone                 Mobile Phone
  I
  N    Type: INDIVIDUAL/ NOT LAW ENFORCEMENT                                                           Injury:
  V
  O   Code Name (Last, First, Middle)                                                            Victim of        DOB            Race Sex Relationship Resident Status    Military
                  GREEN, KATRINA                                                                 Crime #                                  To Offender                  Branch/Status
  L    IO                                                                                                        Age
  V                                                                                                                     55       W        F                       Resident
  E    Home Address                                                                                                                                      Home Phone
  D      11402 NATURE TRL PORT RICHEY, FL 34668                                                                                                                              586-770-4557
       Employer Name/Address                                                                                                        Business Phone                 Mobile Phone

       L = Lost       S = Stolen    R = Recovered D = Damaged Z = Seized B = Burned                    C = Counterfeit / Forged      F = Found
                                           ("OJ" = Recovered for Other Jurisdiction)
       VI     Status
       # Code Frm/To               Value       OJ QTY                      Property Description                                     Make/Model                            Serial Number
             99      S,R           $1,800.00         1   HOBIE KAYAK                                                   HOBIE/Outback
             99      R             $1,800.00         1   HOBIE KAYAK                                                   HOBIE/Outback
  P
  R
  O
  P
  E
  R
  T
  Y




       Officer/ID#          RIYAD, J. (ILP) (4216)                                                                                  Outstanding Stolen Val [Total Stolen]: $1,800.00 [$1,800.00]
       Invest ID#           DUNCAN, W. F. (PAT3, SQ36) (5010)                                                          Supervisor         SCILEX, R. D. (PAT1, SQ02) (1859)
Status Complainant Signature                                   Case Status
                                                               Cleared By Arrest
                                                                                                                       Case Disposition:
                                                                                                                                                                                   Page 1
                                                                                                    05/31/2018                Cleared By Arrest              05/31/2018
       R_CS1IBR                                                ,                                                   Sys#: 1098207                                            01/20/2022 12:28
 Case 8:21-cv-00555-SDM-CPT Document 161-16 Filed 06/28/22 Page 2 of 10 PageID 12445
                          Incident Report Additional Name List
Pasco Sheriff`s Office                                                               OCA: 18-021464

                                                  Additional Name List

                                                                              Victim of
    Name Code/#      Name (Last, First, Middle)                                Crime #    DOB          Age Race Sex

1 ) IO        3      PRALL, MARK ALAN                                                                  53   W M
           Address   12229 WINDRIVER LN Apt. 15, BAYONET POINT, FL 3466                   H:    727-608-9730
        Empl/Addr                                                                         B:    727-495-3771
                                                                                    Mobile #:    - -




 R_CS7NC                                                   01/20/2022 12:28                                 Page 2
         Case 8:21-cv-00555-SDM-CPT Document 161-16 Filed 06/28/22 Page 3 of 10 PageID 12446
                                  INCIDENT/INVESTIGATION REPORT
  Pasco Sheriff`s Office                                                                                                                Case #   18-021464
Status     L = Lost   S = Stolen    R = Recovered   D = Damaged   Z = Seized     B = Burned   C = Counterfeit / Forged   F = Found
Codes

         UCR Status           Quantity     Type Measure                    Suspected Type                                            Up to 3 types of activity


 D
 R
 U
 G
 S




         Assisting Officers




         Suspect Hate / Bias Motivated:    None

                                                             INCIDENT/INVESTIGATION REPORT
Narr. (cont.) OCA: 18-021464                                       Pasco Sheriff`s Office
NARRATIVE




R_CS2IBR                                                                       , 01/20/2022 12:28                                                                Page 3
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                                                           Incident Report Suspect List
Pasco Sheriff`s Office                                                                                                                         OCA: 18-021464


    Name (Last, First, Middle)                                         Also Known As                                         Home Address
1                                                                                                                             14615 US HIGHWAY 19
      GIBSON, STEVEN WILLIAM
                                                                                                                              HUDSON, FL 34667
     Business Address   POSSIBLE HOMELESS                                                                                     727-207-4357
                        727-366-0291, RETIRED
      DOB               Age        Race   Sex      Eth    Hgt          Wgt             Hair         Eye           Skin       Driver's License / State.

                          37       W      M        N           603          170          BRO         BRO           LGT                                FL
     Scars, Marks, Tattoos, or other distinguishing features
         TATT LEFT ARM / ZOMBIE; TATT RIGH ARM / KIO FISH/ DRAGON

    Reported Suspect Detail            Suspect Age                   Race        Sex          Eth     Height                 Weight                      SSN

     Weapon, Type        Feature            Make                 Model                                    Color          Caliber      Dir of Travel
                                                                                                                                      Mode of Travel
    VehYr/Make/Model                          Drs Style                         Color                Lic/St                            VIN


    Notes                                                                                                   Physical Char
                                                                                                             Build, THIN
                                                                                                             Hair Facial, Clean Shaven
                                                                                                             Hair Length, Military
                                                                                                             Build, MEDIUM
                                                                                                             Hair Length, Short
                                                                                                             Hands, Right Handed

    Name (Last, First, Middle)                                         Also Known As                                         Home Address
2                                                                           PENESON, TYLER; PANESON,                          14121 WATER TOWER DR
      PANESON, TYLER ROBERT                                                 TYLER ROBERT; PANESON,                            HUDSON, FL 34667
     Business Address   UNEMPLOYED                                                                                            352-777-6749
                        727-500-5449, UNEMPLOYED
      DOB               Age        Race   Sex      Eth    Hgt          Wgt             Hair         Eye           Skin       Driver's License / State.

                          33       W      M        N           509          170          BLN         GRN           FAR                                FL
     Scars, Marks, Tattoos, or other distinguishing features
         SCAR LEFT KNEE / SCAR LEFT KNEE

    Reported Suspect Detail            Suspect Age                   Race        Sex          Eth     Height                 Weight                      SSN

     Weapon, Type        Feature            Make                 Model                                    Color          Caliber      Dir of Travel
                                                                                                                                      Mode of Travel
    VehYr/Make/Model                          Drs Style                         Color                Lic/St                            VIN


    Notes                                                                                                   Physical Char
                                                                                                             Build, THIN
                                                                                                             Conversation, Silent
                                                                                                             Hair Facial, Clean Shaven
                                                                                                             Hair Length, Short
                                                                                                             Build, MEDIUM
                                                                                                             Hands, Ambidextrous




R_CS8IBR                                                                    ,           01/20/2022 12:28                                                        Page 4
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                                                  Incident Report Related Property List
 Pasco Sheriff`s Office                                                                                           OCA: 18-021464




     Property Description                                                  Make                       Model                       Caliber
 1
     HOBIE KAYAK                                                           HOBIE                        OUTBACK
     Color                        Serial No.                       Value                       Qty                Unit     Jurisdiction
              Tan                                                                 $1, 800.00            1.000                    Locally
     Status                       Date                 NIC #                 State #                 Local #              OAN
           Recovered                     05/28/2018
     Name (Last, First, Middle)                                                         DOB                     Age      Race         Sex
      * No name *
     Notes




R_CS0IBR                                                       ,    01/20/2022 12:28                                                        Page 5
 Case 8:21-cv-00555-SDM-CPT Document 161-16 Filed 06/28/22 Page 6 of 10 PageID 12449
                          REPORTING OFFICER NARRATIVE                OCA
Pasco Sheriff`s Office                                                                                 18-021464
   Victim                                       Offense                                            Date / Time Reported
      IRVINE, DAVID LAWRENCE                       THEFT GRAND 300 LESS THAN 5K DOLS                 Mon 05/28/2018 09:12




    RELATED CASES: None.
    STAT DATA:
    BWC ACTIVATED: Yes.
    SUPPORT DOCUMENTS: None.

    RECONSTRUCTION: On some time, between 2000 hours on 05/26/2018, and 0910 hours on 05/28/2018, an
    unknown suspect/s entered onto the victim`s property without his knowledge or consent, by unknown means. Once
    on the property, the suspect/s removed a tan in color Hobie Outback kayak, valued at $1,800, from the dock in the
    backyard. The unknown suspect/s removed the kayak by cutting the nylon straps which had secured it to the dock.
    After removing the kayak, the suspect/s fled the scene in an unknown direction, by unknown means.

    CRIME SCENE: A single story, single family residence located at 13822 Malcolm Ave Hudson FL 34667. More
    specifically, the kayak was removed from a wooden dock in the backyard of the property.

    INTERVIEW: I spoke with the victim, David Irvine. David advised me he came outside today and saw his kayak
    was missing from the dock and saw the straps had been cut. David told me he knows the kayak was still there on
    05/26/2018 at around 2000 hours, he also thinks he may have saw it yesterday, but he is not sure. David does not
    know anyone who would have taken his kayak and he believes whoever stole it most likely came in from the water.

    INVESTIGATION: On 05/28/2018, at approximately 1029 hours, I responded to 13822 Malcolm Ave in reference
    to a delayed grand theft. Upon my arrival, I made contact with the victim, David Irvine, and conducted the above
    listed interview. David showed me the dock where the kayak was taken from. I observed two light blue nylon straps
    tied to the handrail of the dock, which had secured the kayak. I observed the straps to have clean straight cuts, which
    would be consistent with being cut by a knife or scissors. I photographed the area and later uploaded the photos to
    Evidence.com. I was unable to process the scene for fingerprints due to the fact it was raining. I provided David
    with my card with the case number on it and advised him to call me if he received any further information. I
    conducted the following neighborhood check of the houses at the end of the street. At 13821 Malcolm Ave, I spoke
    with William Smith, who advised me he has not seen or heard anything suspicious. I asked William if his
    surveillance system is working and he advised me it is currently down. At 13818 Malcolm Ave, I spoke with Katrina
    Green and Mark Prall. Katrina advised me she has not seen anything in the past few days. Mark advised me a few
    days ago, he thinks on the 25th, he observed two white males, both in their fifties, approach David`s dock on kayaks.
    Mark advised as they paddled past the dock, they were suspiciously looking at the backyard. Mark was unable to
    provide any further detail about the males on the kayaks. I checked RAPID and found no Hobie kayaks pawned
    recently.

    At this time, I request this case be inactivated until further leads develop.

    A wants and warrants check on all parties met with negative results.

    No further action.

    ICR: 4 x $26.00 = $104.00




Reporting Officer: RIYAD, J.                               01/20/2022 12:28                                               Page 6
R_CS3NC
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                           CASE SUPPLEMENTAL REPORT                 Printed: 01/20/2022 12:28


Pasco Sheriff`s Office                                                                          OCA: 18021464
                  THE INFORMATION BELOW IS CONFIDENTIAL - FOR USE BY AUTHORIZED PERSONNEL ONLY

Case Status: CLEARED BY ARREST              Case Mng Status: CLEARED WITH ARREST               Occurred: 05/26/2018

   Offense: THEFT GRAND 300 LESS THAN 5K DOLS


Investigator: DUNCAN, W. F. (5010)                                 Date / Time: 06/05/2018 21:26:43, Tuesday
Supervisor: BERBERICH, J. A. (3606)               Supervisor Review Date / Time: 06/08/2018 10:34:09, Friday
   Contact:                                                          Reference: Supplement Completed



 RELATED CASE: 18-021526
 STAT DATA: Case Cleared with Arrest. Property listed has been recovered.
 BWC ACTIVATED: N/A
 SUPPORT DOCUMENTS: One (1) Probable Cause Affidavit, One (1) Probablem Cause Pick Up Order.

 On 05-28-18, I was assigned this case and provided case #18-021526, an Information for Deputy report. Once I
 reviewed the facts of the case, it appeared the kayak the defendants, Tyler Paneson and Steven Gibson were in
 possession of was the one stolen in this case.

     When the defendants were contacted by FTO Graham it was less than 12 hours from when the kayak was reported
 stolen, less than one mile from where it was taken, matched the physical description of the victim`s property and neither
 defendant claimed ownership of the property.

     The Information for Deputy report stated both defendants had asked each other to help carry the kayak. Both denied
 asking the other for help. They both claimed a third party asked them to go get it from allocation on Pine St, just a few
 blocks away. The third party, Hector denied ownership and claimed to not even know Gibson.

     Gibson, who was in custody for unrelated charges agreed to show FTO Graham where they had picked up the kayak.
 The location in front of 14038 Pine St. is an unmaintained boat dock. The owner of the property claimed the kayak was
 there earlier and he did not know who it belonged to.

     I responded to Stepp`s Towing on U.S. 19 in Hudson where I inspected the kayak and checked it for any items the
 victim may have been able to identify. I then photographed the kayak and uploaded the photographs to Evidence.com
 via my agency mobile phone. I then called the victim by telephone. I asked if there were any items in or on the kayak
 that he knew were there when it was taken such as ropes, maps or fishing equipment. He said there should have been a
 map of Crystal River and the Homosassa area. The map located in the front sealed compartment was in a map of the
 same area. I then sent the victim photographs of the kayak via my agency mobile phone. He confirmed the kayak was
 the one stolen from his property and claimed the ropes on it were the same type as were cut from the dock.

     I prepared Probable Cause Affidavits for Steven Gibson and Tyler Paneson. Detective R. Turnbow and I responded to
 Tyler`s Last listed address on Amanda Ave, in Hudson. The property was fenced, with the gate closed and secured with
 a chain and lock as well as no trespassing signs. Detective Turnbow and I then checked another address on Beverly
 Drive in Hudson. The location appeared abandoned and as though no one was living there.

     I responded to the Pasco County Jail and delivered Steven`s Probable Cause Affidavit to Booking to arrest him as he
 was still in custody. I also delivered Tyler`s Probable Cause Pick Up to Teletype. The State Attorney`s Invest is
 scheduled for 06-18-18 at 1530 hours and will be at the New Port Richey State attorney`s Office. I advised the victim
 and FTO Graham of the date, time and location.




r_supp3                                                                                                           Page 7
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                          CASE SUPPLEMENTAL REPORT                 Printed: 01/20/2022 12:28


Pasco Sheriff`s Office                                                                     OCA: 18021464
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Case Status: CLEARED BY ARREST             Case Mng Status: CLEARED WITH ARREST            Occurred: 05/26/2018

   Offense: THEFT GRAND 300 LESS THAN 5K DOLS

     I was also advised by Stepp`s Towing the victim would have to pay $255.45 to have his property returned.


ICR: 4 hours X $26.00=$104.00




                                                                                                                Page 8
  Case 8:21-cv-00555-SDM-CPT Document 161-16 Filed 06/28/22 Page 9 of 10 PageID 12452
                           CASE SUPPLEMENTAL REPORT                 Printed: 01/20/2022 12:28


Pasco Sheriff`s Office                                                                        OCA: 18021464
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Case Status: CLEARED BY ARREST              Case Mng Status: CLEARED WITH ARREST             Occurred: 05/26/2018

   Offense: THEFT GRAND 300 LESS THAN 5K DOLS


Investigator: DUNCAN, W. F. (5010)                                Date / Time: 06/08/2018 21:15:20, Friday
Supervisor: BERBERICH, J. A. (3606)              Supervisor Review Date / Time: 06/11/2018 22:30:57, Monday
   Contact:                                                         Reference: Supplement Completed



 RELATED CASE: None
 STAT DATA: Add Tyler Paneson and Steven Gibson as offenders.
 BWC ACTIVATED: N/A
 SUPPORT DOCUMENTS: None

 Steven Gibson was arrested at the Pasco County Jail. Tyler Paneson is still being sought at this time.

 ICR: .5X$26.00=$13.00




                                                                                                                Page 9
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                           CASE SUPPLEMENTAL REPORT                Printed: 01/20/2022 12:28


Pasco Sheriff`s Office                                                                        OCA: 18021464
                  THE INFORMATION BELOW IS CONFIDENTIAL - FOR USE BY AUTHORIZED PERSONNEL ONLY

Case Status: CLEARED BY ARREST              Case Mng Status: CLEARED WITH ARREST             Occurred: 05/26/2018

    Offense: THEFT GRAND 300 LESS THAN 5K DOLS


Investigator: ATHAN, G. C. (5089)                                 Date / Time: 06/24/2018 13:32:09, Sunday
 Supervisor: BLACKMAN, G. (4777)                 Supervisor Review Date / Time: 06/27/2018 15:30:44, Wednesday
   Contact:                                                         Reference: Supplement Completed



 STAT DATA: 180214897
 BWC ACTIVATED: Yes
 SUPPORT DOCUMENTS: None

    On June 24, 2018, at approximately 1148 hours, Tyler Paneson was arrested under case number 180214897. I was
 notified that there is probable cause for Tyler`s arrest under this case number. Deputy P. Locascio met me at the Land O
 Lakes Detention Center, 20101 Central Boulevard, Land O Lakes and provided me with a completed Probable Cause
 Affidavit. Tyler was arrested and released into the Detention personnel possession.

    No further action.




                                                                                                                 Page 10
